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UNITED sTATEs DIsTRICT COURT
WESTERN DISTRICT 0F TENNESSEE 2955 AU@ “9 AH IO= 13
THE CHARTER oAK FIRE INSURANCE Co. :
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v. . §;§ g §
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BROAN NUToNE,LLC, = -é+g;‘_~:,;§ m §§
; §§ . § 1
Defendants. : §"‘ -¢-5 l
§ =» a

 

MOTION FOR OUT-OF-S'I`ATE COUNSEL TO APPEAR PRO HAC VICE

Pursuant to Rule 19 of the Rules of the Supreme Court of the State of Termessee,
attorney Patrick J. Hodan of the firm of Reinhart Boerner Van Deuren, Which has offices
located in Milwaukee, Wisconsiri, hereby moves to be admitted as counsel pro hac vice
as to be able to act as co-counsel on behalf of Defendant Broan Nutone. This motion is
supported by the accompanying affidavit as is required by Rule 19. Pursuant to Rule
19(3), the State of Wisconsin places no more restrictive conditions for the appearance of
foreign lawyers in its jurisdiction

Wherefore, attorney Patrick J Hodan requests that this Honorable Court enter an

order permitting him to appear as counsel pro hac vice on behalf of Defendant.

MOTEON GRANTED

    

BERNICE BOU|E DONALD
U.S. DISTRICT JUDGE
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Defendant’s counsel has conferred with Brian Henry and Joe Broy, counsel for the

Plaintiff, and they has no objection

Respectfully submitted,

By: t
Edward M. Bearman (14242)
780 Ridge Lake Boulevard
Suite 202

Memphis, Tennessee 3 8120
(901) 682-3450

CERTIFICATE OF SERVICE

I hereby certify that a copy of the Motion for Out-of-State Counsel to Appear Pro
Hac Vice has been served upon opposing counsel via U.S. Mail postage prepaid on the
_ day of , 2005 at the following address:

Brian Henry
Attorney at Law
750 Main Street, Suite 510
I-Iartford, Connecticut 06103

jo MV§M

Edward M. Bearman

 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 50 in
case 2:03-CV-02989 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

